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                                    CASE NO. 23-11038

                                             IN THE
        United States Court of Appeals
                         FOR THE FIFTH CIRCUIT


             Eric Jackson; Alaric Stone; Michael Marcenelle,
                                                                            Plaintiffs- Appellants,

                                                   v.

Alejandro Mayorkas, Secretary, U.S. Department of Homeland Security;
      Lloyd J. Austin, III, Secretary, U.S. Department of Defense;
    Linda Fagan, Commandant of the Coast Guard; Brian Penoyer,
   Assistant Commandant for Human Resources of the Coast Guard,
                                                                            Defendants-Appellees.


          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS, FT. WORTH

                         APPELLANTS’ REPLY BRIEF



 Michael G. McHale                                      Stephen M. Crampton
 THOMAS MORE SOCIETY                                    THOMAS MORE SOCIETY
 10506 Burt Circle, Suite 110                           P.O. Box 4506
 Omaha, NE 68114                                        Tupelo, MS 38803
 402-501-8586                                           662-255-9439
 mmchale@thomasmoresociety.org                          scrampton@thomasmoresociety.org

 Adam Hochschild                                        Nathan Loyd
 HOCHSCHILD LAW FIRM, L.L.C.                            THOMAS MORE SOCIETY
 P.O. Box 401                                           309 W. Washington Street, Suite 1250
 Plainfield, VT 05667                                   Chicago, IL 60606
 314-503-0326                                           312-896-0151
 adam@hochschildlaw.com                                 nloyd@thomasmoresociety.org

                            Counsel for Plaintiffs-Appellants

       LANTAGNE LEGAL PRINTING 801 East Main Street Suite 100 Richmond, Virginia 23219 (804) 644-0477
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            CERTIFICATE OF INTERESTED PERSONS

            Eric Jackson; Alaric Stone; Michael Marcenelle,
                                  Plaintiffs - Appellants
                                      v.
    Alejandro Mayorkas, Secretary, U.S. Department of Homeland
 Security; Lloyd J. Austin, III, Secretary, U.S. Department of Defense;
    Linda Fagan, Commandant of the Coast Guard; Brian Penoyer,
  Assistant Commandant for Human Resources of the Coast Guard,
                                 Defendants - Appellees


     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of 5th CIR Rule

28.2.1 have an interest in the outcome of this case. These representations

are made in order that the judges of this court may evaluate possible

disqualification or recusal.

     There are no corporations that are either parents of any of the

Plaintiffs-Appellants or that own 10% or more stock in any of the

Plaintiffs-Appellants.

     A. Plaintiffs-Appellants

           Eric Jackson
           Alaric Stone
           Michael Marcenelle



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B. Current and Former Attorneys for Plaintiffs-Appellants

Current Attorneys
     Stephen Crampton
     THOMAS MORE SOCIETY
     PO Box 4506
     Tupelo, MS 38803
     (662)255-9439
     scrampton@thomasmoresociety.org

     Michael G. McHale
     THOMAS MORE SOCIETY
     10506 Burt Circle, Ste. 110
     Omaha, NE 68114
     (402)501-8586
     mmchale@thomasmoresociety.org

     Nathan Loyd
     THOMAS MORE SOCIETY
     5101 Old Highway 5, Box 442
     Lebanon, GA 30146
     (559)744-3664
     nloyd@thomasmoresociety.org

     Adam S. Hochschild
     Hochschild Law Firm, LLC
     THOMAS MORE SOCIETY
     PO Box 401
     Plainfield, VT 05667
     (314)503-0326
     adam@hochschildlaw.com




                              ii
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Former Attorneys
    Mary Catherine Martin
    THOMAS MORE SOCIETY
    112 S. Hanley Rd., Second Floor
    Clayton, MO 63105
    (314)825-5725
    mmartin@thomasmoresociety.org

     Charles W. Fillmore
     H. Dustin Fillmore III
     THE FILLMORE LAW FIRM, L.L.P.
     Fort Worth, TX 76102
     (817)332-2351
     chad@fillmorefirm.com
     dusty@fillmorefirm.com

     Paul M. Jonna
     LiMandri & Jonna LLP
     THOMAS MORE SOCIETY
     P.O. Box 9120
     Rancho Santa Fe, CA 92067
     (858)759-994
     pjonna@limandri.com

C. Defendants-Appellees

     Alejandro Mayorkas, Secretary, U.S. Department of
          Homeland Security
     Lloyd J. Austin, III, Secretary, U.S. Department of Defense
     Linda Fagan, Commandant of the Coast Guard
     Brian Penoyer, Assistant Commandant for Human Resources
          of the Coast Guard




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D. Current and Former Attorneys for Defendants-Appellees

Current Attorneys
     Cody Knapp
     Sarah Clark
     United States Department of Justice
     Civil Division
     Federal Programs Branch
     1100 L Street NW
     Washington, D.C. 20530
     (202)532-5663
     cody.t.knapp@usdoj.gov
     sarah.clark@usdoj.gov

Former Attorney
    Johnny Walker
    United States Department of Justice
    Civil Division
    Federal Programs Branch
    1100 L Street NW
    Washington, D.C. 20530
    (202)532-5663
    johnny.h.walker@usdoj.gov

E. Other Interested Persons
None

Dated: February 7, 2024
                            /s/ Michael G. McHale
                            Michael G. McHale
                            THOMAS MORE SOCIETY
                            10506 Burt Cir., Ste. 110
                            Omaha, NE 68114
                            (402) 501-8586
                            mmchale@thomasmoresociety.org
                            Counsel for Plaintiffs-Appellants



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 I.   The Coast Guard Still Fails to Demonstrate Mootness.

      The Coast Guard argues this case is moot merely because it has

rescinded (voluntarily) the challenged mandate. (Resp.Br. at 9-10.) But

it ignores that “a case becomes moot only when it is impossible for a court

to grant any effectual relief whatever,” Chafin v. Chafin, 568 U.S. 165,

172 (2013) (emphasis added), including by enjoining a rescinded policy’s

“collateral consequences” (discussed below).1

      The Coast Guard notes that “numerous courts” have dismissed

challenges to “the military’s COVID-19 vaccination mandate.” (Resp.Br.

at 11.) But nearly all those cases involved branches under the

Department of Defense (“DoD”), which has explicitly provided that “DoD

Component heads and commanders will not . . . consider a Service

member’s COVID-19 immunization status in making deployment,

assignment, and other operational decisions.” DoD Rescission Guidance,

Feb. 24, 2023, cited by U.S. Navy SEALs 1-26 v. Biden, 72 F.4th 666, 673

(5th Cir. 2023) (“Navy SEALs II”). The Coast Guard, which is uniquely




1 All emphasis in this brief is added unless otherwise noted.


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under the Department of Homeland Security (“DHS”), has provided no

such affirmative protections from commander-level discrimination.

     While the Coast Guard cites two dismissals involving the Coast

Guard’s mandate, see Bazzrea v. Mayorkas, No. 3:22-cv-265, 2023 WL

3958912 (S.D. Tex. June 12, 2023), and Pilot v. Austin, No. 8:22-cv-1278

(M.D. Fla. June 15, 2023) (Dkt. #222), both were issued before this Court’s

clarifying decision in Navy SEALs II (July 6, 2023). Bazzrea opined that

the possibility of future discrimination was too “speculative.” 2023 WL

3958912, at *6. But in Navy SEALs II, this Court deemed the specter of

future discrimination so significant that it only found mootness after

identifying “critical[]” Navy policies foreclosing the possibility of such

discrimination in deployments, assignments, and trainings. 72 F.4th at

673. See infra.

     Thus, the actual question for determining mootness is whether the

Coast Guard has eliminated its mandate’s collateral consequences in the

way this Court found the Navy had in Navy SEALs II. The Coast Guard’s

Response confirms that it has not.




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  A.     Ongoing, Unique Collateral Consequences.

            1.    Permitting ad hoc discrimination.

       The Coast Guard does not deny that it must “completely and

irrevocably eradicate[] the effects” of its “shocking” denial of effectively

all requests for religious accommodation, in blatant violation of RFRA.

(ROA.1948) Los Angeles Cnty. v. Davis, 440 U.S. 625, 631 (1979); see also

Firefighters Loc. Union No. 1784 v. Stotts, 467 U.S. 561, 571 (1984) (no

mootness until plaintiffs “have been made whole” under new policy).

Nothing in the Coast Guard’s Response establishes that it has eradicated

the effects of its illegal discrimination here.

       The Coast Guard argues it has eliminated the mandate’s adverse

effects by “cancel[ing] the policies that formerly prevented unvaccinated

service members from fully participating in the Coast Guard.” (Resp.Br.

at 13.) It says this “restored those members’ ability to attend trainings

and to compete for command assignments and promotions.” (Resp.Br. at

13.) However, it never acknowledges this Court’s linchpin analysis in

Navy SEALs II finding appellate mootness only where, “[c]ritically, the

Navy ha[d] also ruled out using vaccination status to deny deployment

eligibility, training opportunities, and assignments,” by “forbid[ding]


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considering vaccination status for such decisions.” 72 F.4th at 673

(emphasis added). The Coast Guard does not explain how “cancel[ing]”

former policies that required Plaintiffs’ exclusion is equivalent to

forbidding such exclusion on a case-by-case basis, as the Navy did.

      Plaintiff Stone’s experience demonstrates the difference. Even after

the Coast Guard rescinded a policy barring unvaccinated service

members from attending required trainings, his command still forbade

him from participating. (ROA.1528) (Op.Br. at 17, 33 n.10.) Later, his

supervisor informed him that he received lower evaluation scores in part

because he had not attended the required training course for his current

position. (ROA.1528, 151-52.) The Coast Guard’s Response simply avers

that “there is no longer any barrier to his attending the training in

question” (Resp.Br. at 15), but that was already true when Stone was

nevertheless prevented from attending. (ALCOAST 157/22) (ROA.295).2

In other words, Stone’s experience shows that rescission of a policy of

mandatory discrimination does not provide affirmative protections; it




2 The Coast Guard also suggests that his changed circumstances may be the reason
for his evaluation downgrade (id.), ignoring Stone’s sworn testimony that he was
specifically told that his missed training was a material reason for the lower scores.
(Supra.)
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simply makes the discrimination optional. It bears no similarity to the

affirmative prohibitions against discrimination put in place by the Navy

and other DoD forces.

     Without protecting them from discrimination, the Coast Guard has

not actually “definitively restored Plaintiffs to equal footing with their

vaccinated counterparts.” Navy SEALs II, 72 F.4th at 673; see also id. at

677 (Ho, J., dissenting) (noting it was only after oral argument that the

Navy allegedly established equal footing there); compare No. 22-10534,

Dkt. #161 (oral argument held Feb. 6, 2023) with Dkt. #163

(Supplemental Letter from Navy on Feb. 17, 2023, stating new guidance

“explicitly provides that ‘[u]nder no circumstances shall a Commander

mandate that any Navy service member receive the COVID-19

vaccination’; ‘COVID-19 vaccination shall not be a consideration in

assessing individual service member suitability for deployment or other

operational missions.’”).

     To be sure, the Coast Guard insists that its post-mandate policies

have “prohibited new adverse actions.” (Resp.Br. at 4 (emphasis added).)

But the Coast Guard merely cites to seven post-mandate policies, none of

which prohibits ad hoc discrimination with respect to assignments


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(including deployment) like the Navy’s policies. (Id.) The Coast Guard

does not point to any specific language showing otherwise, even though

the party asserting mootness “bears the burden” of proving it. See

Cardinal Chem. Co. v. Morton Int’l, Inc., 508 U.S. 83, 98 (1993).3 Instead,

it highlights some provisions that remove relevant administrative marks,

“upgrade” conduct marks to “satisfactory” for enlistees (see ROA.1905),

“cancel” mandatory discrimination, and assert a “focus on retaining

unvaccinated members” who are enlistees (see ROA.1896). (Resp.Br. at

14.) But none of this is equivalent to the Navy’s language “explicitly

provid[ing]” that “[u]nder no circumstances shall a Commander mandate

that any Navy service member receive the COVID-19 vaccine,” including

in assessing suitability for deployment. See supra.

      Indeed, the Coast Guard never claims it has “ruled out using

vaccination status to deny deployment eligibility, training opportunities,

and assignments,” or “forbid[den] consideration of vaccination status for




3 This is the same Coast Guard that ostensibly lied to a separate tribunal that it had

“approved” 12 religious accommodation requests without acknowledging those 12
individuals were already slated for separation and thus qualified for a separate
“administrative” exemption (Op. Br. at 54-55 and n.16)—which the Coast Guard’s
Response does not deny.
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such decisions.” Navy SEALs II, 72 F.4th at 673. In other words, it does

not even assert that Plaintiffs are definitively safe from ad hoc harms

based on their COVID-19 vaccination status. This alone prevents

mootness. See Navy SEALs II, 72 F.4th at 673; see also Tucker v. Gaddis,

40 F.4th 289, 292-93 (5th Cir. 2022) (no mootness where prison change-

in-policy merely allowed plaintiff to apply for religious services without

ensuring he could fairly obtain such services).

           2.    Individual ongoing consequences.

     The Coast Guard also wrongly argues there are no ongoing

individual collateral consequences that this Court can remedy.

     As noted (Op.Br. at 16), Plaintiffs’ records now contain a scarlet-

letter “Navarro memo” replacing their negative CG-3307s. These letters

continually document their purported violation of the COVID-19

vaccination mandate. (See ROA.1452.) The Coast Guard says the memos

simply “document the authority for changing a federal record,” (Resp.Br.

at 15.), but it cites no legal authority requiring such documentation, nor

explains why the Navy has authority to fully expunge similar records

without leaving documentation. (Op.Br. at 36.) Moreover, now that

Plaintiff Marcenelle has received his requested promotion, the Coast


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Guard has informed him that his Officer Evaluation Report documenting

his prior missed promotion has been “removed from [his] . . . Record”—

confirming that the Coast Guard can expunge an invalid record without

a substitute scarlet-letter memo. See Plaintiffs’ Unopposed Motion to

Supplement the Record on Appeal and Exhibits A and B attached thereto,

filed with this Reply Brief. (ROA.2070-88) (Plaintiffs respectfully request

that this Court consider this new evidence given the Coast Guard’s own

reliance on Marcenelle’s recent promotion on December 19, 2023.)

     The Coast Guard further argues that no decision-making authority

can view the Navarro memos. (Resp.Br. at 15-16.) However, the Coast

Guard points to no record evidence in support, while the record does

include ALCGOFF 042/23, ignored by the Coast Guard, which states that

“Selection Boards [ ] will view the officer’s complete record” in considering

requests for promotion to Lieutenant Junior Grade and Lieutenant.

(ROA.1910 at No. 13.) The same policy warns that “any member with a

matter of record” even “associated with the COVID-19 mandate should”

contact personnel staff “immediately” to ensure its removal. (ROA.1911

at No. 16.) Thus, both Stone and Marcenelle have attested to their

reasonable concerns that commanders will be able to view these records


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in the future (ROA.1500, 1528, 1536-37), and the Coast Guard has not

established otherwise.

     The Coast Guard downplays Plaintiff Stone’s injury from a

downgraded evaluation—going from “one of few distinguished officers” to

“center of mass” under the COVID-19 vaccine mandate (ROA.1527-28,

1531). It states that the evaluation “was overall quite positive” because

it “recommend[s] [him] for promotion w/ best of peers.” (Resp.Br. at 15.)

However, Stone’s prior evaluation had stated he was a “Must-select” for

promotion. (ROA.153, 175.) And a mere “recommendation” is an internal,

Coast Guard-specific term for a relatively lukewarm position on a service

member’s future promotion prospects (and is the minimum included on

nearly every Junior Officer evaluation). (ROA.1931.) The Coast Guard

also speculates that his downgrade will not be harmful to his career

moving forward, in the face of directly contrary testimony from Stone

himself (ROA.1528), as well as that of Vice Admiral Lee (Op.Br. at 8-9;

see infra). Stone thus seeks an injunction ensuring that his vaccination

status cannot be used against him again on an ad hoc basis, including by

reliance on this vaccine-tainted evaluation.




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     As to the fact Marcenelle has finally received his otherwise-nearly-

automatic promotion, the Coast Guard still fails to ensure that his

vaccination status cannot again be used against him by future promotion

boards—especially when, for example, it is no longer desperately

attempting to remedy a historically bad recruiting crisis exacerbated by

its own vaccine mandate. (ROA.163-164.) Cf. U.S. Navy SEALs 1-26 v.

Biden, 4:21-cv-01236 (N.D. Tex.) ECF 230-2 at 2-3 (Navy policy that

“future selection board[s]” must “ensur[e] [they] do not consider any

adverse information solely related to COVID-19 vaccine refusal in cases

in which an accommodation was requested”).

     Further, Marcenelle’s promotion after more than 10 months of

exhaustive efforts (ROA.1913) only confirms the Coast Guard’s litigation

posturing here, especially when compared to its simultaneous promises

to restore separated-but-returning members’ promotions within just 30

days (ROA.1966). See infra.

     As to ongoing quarantine requirements and vaccination checks, the

Coast Guard simply says these restrictions were not part of its COVID-

19 vaccine mandate. (Resp.Br. at 14.) But the Coast Guard overlooks that

these requirements essentially “out” Plaintiffs as putative (alleged)


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lawbreakers for being “unvaccinated” while in the Coast Guard during

the mandate. In other words, the operation of these policies gives rise to

a secondary harmful effect of the mandate, which prevents mootness here.

Applied to Plaintiffs and the putative class, these policies conflict with

the Coast Guard’s obligation to restore them to “equal footing with their

vaccinated counterparts.” Navy SEALs II, 72 F.4th at 673.

       Accordingly, because the Coast Guard has failed to eradicate these

extant collateral consequences, this case is not moot. Moreover, all these

concerns remain justiciable despite the Coast Guard’s arguments to the

contrary. See infra.

  B.     Plaintiffs remain entitled to declaratory judgment.

       The Coast Guard also wrongly denies that Plaintiffs are at least

entitled to declaratory relief given the ongoing harm to their service

reputations and the concrete consequences of that harm.

       The Coast Guard notably does not deny that service reputation is

uniquely important in the Coast Guard given its substantially smaller

membership compared to the other branches. (Op.Br. at 8.) The Coast

Guard questions whether reputational injuries can prevent mootness,

but it never acknowledges this Court’s decision in Connell v. Shoemaker,


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555 F.2d 483 (5th Cir. Cir. 1977), which held that reputational harm

inflicted by a since-rescinded Army order justified a declaratory

judgment. The Coast Guard does not dispute that Connell remains good

law and applies here, as explained in Plaintiffs’ Opening Brief (at 40-47).

     The Coast Guard also does not dispute that its rescission, unlike

the DoD’s, uniquely labels Plaintiffs and the putative class as “violat[ors]

of the lawful general orders” who are now merely protected from

resulting consequences (allegedly). (Resp.Br. at 17.) The Coast Guard

defends this denigration by claiming that any reputational impacts are

“pure speculation” given Stone’s recommendation for, and Marcenelle’s

received, promotion. (Id.) As noted, however, Stone’s evaluation was a

downgrade both explicitly and in the Coast Guard’s specialized

terminology; he has already been denied requisite training on an

individual basis; and both he and Marcenelle remain unprotected from

commander-level discrimination in promotion going forward. Indeed, the

Coast Guard’s recent warning that members needed to “immediately”

contact personnel officials to ensure their records do not contain any

negative materials “associated with the COVID-19 mandate” (ROA.1911)

viewable by Selection Board officials confirms the concrete danger of


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having a known service reputation as a “violat[or] of the lawful general

orders”.

     The Coast Guard’s dismissal of Vice Admiral Lee’s declaration

confirming these ongoing reputational harms is weak and unpersuasive.

The Coast Guard simply alleges that Admiral Lee, who served in the

Coast Guard for nearly 36 years, “has no direct experience” with its

vaccine mandate or rescission. (Resp.Br. at 18.) But it does not (and

cannot) dispute that Admiral Lee has direct knowledge of how “service

reputation” operates in the Coast Guard; that he has remained in contact

with active duty officers; and that he has an experience-based

understanding that COVID-19 vaccination stigma is likely to result in

“concrete, predictable harm to [Plaintiffs’] careers,” especially given his

direct knowledge that “Coast Guard leadership still considers these

service members to have disobeyed a lawful order.” (ROA.1773, 1774

(emphasis in original).)

     That is exactly the kind of reputational harm this Court deemed

sufficient in Connell to justify declaratory relief. See 555 F.2d at 485;

accord F.C.C. v. Fox Television Stations Inc., 567 U.S. 239, 255-56 (2012).

Plaintiffs are similarly entitled to a declaratory judgment here—


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especially given that, among all the branches of the Armed Forces, only

the Coast Guard’s “shocking” denial of all religious accommodations has

not been judicially deemed a violation of RFRA (though it blatantly was).

(See Op.Br. at 42.)

  C.     The Coast Guard’s actions are not insulated from judicial
         review.

       The Coast Guard asserts Plaintiffs’ claims are non-justiciable even

if legitimate on the merits. In other words, the Coast Guard insists that

it be entrusted to identify and correct its own violations of RFRA. The

Court should reject, as it has before, this misplaced arrogation of

constitutional authority.

       As pointed out in Plaintiffs’ Opening Brief (and ignored by both the

District Court and the Coast Guard’s response), Article I, Section 8 of the

United States Constitution explicitly provides Congress authority to

regulate the military branches (Op.Br. at 48), and this Court is among

those that have recognized that Congress exercised precisely this power,

entrusting service members’ religious liberty to the courts, by enacting

RFRA, see, e.g., Navy SEALs 1-26 v. Biden, 27 F.4th 336, 345-46 (5th Cir.

2022) (“Navy SEALs I”) (“Congress rendered justiciable Plaintiffs’ claims

under RFRA.”).

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     Moreover, the Supreme Court has long recognized that the

Constitution does not entrust citizens’ highest rights, those guaranteed

by the First Amendment, to the “keeping of the military.” Parisi v.

Davidson, 405 U.S. 34, 54-55 (1972) (Douglas, J., concurring). The rights

protected by RFRA and the First Amendment are not within the

military’s “expertise” or “domain.” Id. Therefore, this Court is well within

its competence to identify and remedy injuries relating to Coast Guard’s

RFRA violations.

     This is no less true of Plaintiffs’ claims related to promotions

(including the Coast Guard’s ongoing refusal to prohibit Selection Boards

from engaging in ad hoc discrimination). The Coast Guard’s Response

posits an absolute reservation of all promotion-related decisions by

relying on two cases that predate the enactment of RFRA in 1993

(Resp.Br. at 16) (citing Gilligan v. Morgan, 413 U.S. 1, 10 (1973) and

Orloff v. Willoughby, 345 U.S. 83, 92 (1953)), the general principle of

which was recently repeated in Justice Kavanaugh’s solo concurrence in

Austin v. U.S. Navy SEALs 1-26, 132 S.Ct. 1301 (2022).

     While these opinions indeed favor deference to military judgment

in personnel-related matters, that deference ends where a service


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member has been denied a “clear legal entitlement,” Guy v. United States,

608 F.2d 867, 874 (Ct. Cl. 1979), and especially where he has suffered

that injury in violation of his constitutional rights, see, e.g., Emory v.

Sec'y of Navy, 819 F.2d 291, 294 (D.C. Cir. 1987). Both are true of the

Coast Guard’s discrimination based on a service member’s religious

exercise.

     The Coast Guard’s refusal to delete the scarlet-letter Navarro

memo is also eminently justiciable. The Coast Guard does not even

attempt to explain how this apparently discretionary act is in any way a

“complex,   subtle,    [or]   professional    decision”   requiring     “military

judgment”—indeed, the decision to retain this record was not even made

by a military member. (ROA.1809) (declaration of Mr. Michael Lemorie,

stating “I am a civilian employee” (emphasis added) before explaining his

decision to enter the Navarro memorandum into Jackson’s records).

     And even if this decision were at all complex, it is well established

that expungement of records is a judicially available remedy for statutory

and constitutional violations. See, e.g., Abdelfattah v. U.S. Dept. of

Homeland Sec., 787 F.3d 524 (D.C. Cir. 2015) (a case remained “a live

controversy” where plaintiff requested DHS expunge records the


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retention of which would “lead to future deprivation of [plaintiff’s]

rights.”); Chastain v. Kelley, 510 F.2d 1232, 1235-1236 (D.C. Cir. 1975)

(“[F]ederal courts are empowered to order the expungement of

Government records where necessary to vindicate rights secured by the

Constitution or statute . . . Such a right may exist if the information . . .

was acquired by fatally flawed procedures, or . . . is prejudicial without

serving any proper purpose…”).

       The same rules apply to the military. See Doe v. U.S. Air Force, 812

F.2d 738 (D.C. Cir. 1987) (Air Force’s failure to expunge documents

obtained in violation of Airman’s constitutional rights prevented

necessary “eradication” to establish mootness).

       In short, Plaintiffs’ claims are justiciable.

II.    Mootness exceptions also apply.

      A. Voluntary Cessation.

       Even if the Coast Guard successfully eradicated the mandate’s

collateral consequences, the voluntary cessation exception to mootness

would readily apply, contrary to the Coast Guard’s arguments.




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              1. The Coast Guard voluntarily rescinded the
                 mandate and its enforcement policies.

     The Coast Guard persists in claiming that that the 2023 National

Defense Authorization Act (“NDAA”) forced it to rescind the primary

mandate. Not so. As noted in Plaintiffs’ Opening Brief, Section 525 of the

2023 NDAA rescinded only the DoD vaccine mandate: “Not later than 30

days after the date of the enactment of this Act, the Secretary of Defense

shall rescind the mandate that members of the Armed Forces be

vaccinated against COVID-19 . . . .” 2023 NDAA, PL 117-263, Dec. 23,

2022, 136 Stat 2395, Sec. 525. Section 525 does not oblige the Department

of Homeland Security, including the Coast Guard, to do anything, unlike

other sections of the same NDAA. See, e.g., Sec. 598 (“the Secretary of

Defense, in coordination with the Secretary of Homeland Security with

regards to the Coast Guard, shall conduct a review”); see also Sec. 612;

Sec. 616; Sec. 1045. The Coast Guard also has no response to Plaintiffs’

point that the 2024 NDAA’s vaccine relief specifically applies to the Coast

Guard, unlike the 2023 version. (Op.Br. at 12-13.)

     Further, the Coast Guard has consistently asserted that its

mandate merely “align[ed]” and was “consistent with,” but not required

by, the DoD mandate (see Resp.Br. at 21, ROA.275, 1776, 1780, 1444,

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1453, 1465, 1473), as it explicitly argued before the District Court (see

ROA.1303). The Coast Guard’s rescission of its mandate was plainly

voluntary.

     The Coast Guard observes that Plaintiffs named the Secretary of

Defense as a defendant. (Resp.Br. at 18.) Indeed, that’s because Congress

or the President can direct the Coast Guard to operate as a service in the

Navy (and thus under the DoD) upon a declaration of war. 14 U.S.C. §

103(b). Plaintiffs’   requested   relief   would be      toothless    in that

circumstance were the Secretary of Defense not a defendant.

     Regardless, the Coast Guard does not contest that its rescission of

several of the mandate’s enforcement mechanisms was voluntary.

(Op.Br. at 51-52.) Thus, the voluntary cessation doctrine indisputably

applies here.

                2. The Coast Guard confirms it is not entitled to a
                   presumption of good faith.

     The Coast Guard demands that this Court follow the District

Court’s lead and presume it has operated in good faith—a presumption

the Supreme Court has never recognized in voluntary cessation cases.

This is a bold move by a component of this Department of Homeland

Security—a repeat perpetrator of legal gamesmanship. See Missouri v.

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Biden, 83 F.4th 350, 393 (5th Cir. 2023) (“The district court was right to

be skeptical of the officials’ [including Defendant Mayorkas’s] claims that

they had stopped all challenged conduct”; citing Speech First, Inc. v.

Fenves, 979 F.3d 319, 327-29 (5th Cir. 2020)), cert. granted sub nom.

Murthy v. Missouri, 144 S. Ct. 7 (2023); see also Texas v. Biden, 20 F.4th

928, 964 (5th Cir. 2021) (discussed infra), rev’d on other grounds, 142 S.

Ct. 2528 (2022).

     As the Coast Guard itself admits, “evidence to the contrary” will

negate any presumption of good faith. (Resp.Br. at 19.) Plaintiffs have

presented a host of examples of Coast Guard actions that were manifestly

indefensible and showed bad faith. These included its sham process

resulting in zero genuine religious exemptions from 1,200 applicants

(Op.Br. at 54); its disingenuous statements to disguise this number (id.

at 54-55); and its prompt restoration of promotions for ex-service

members but procrastination for Plaintiffs (id. at 56). The Coast Guard

does not dispute any of these facts.

     Moreover, the Coast Guard conveniently ignores the three factors

this Court recognizes overcome the presumption of good faith and

prevent mootness, as recently outlined in Texas v. Biden, a case involving


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similar gamesmanship from DHS. (See Op.Br. at 53.) The Coast Guard

effectively concedes that all three factors apply here:

     First, the Coast Guard does not dispute that there is a complete

“absence of a controlling statement of future intention not to repeat the

challenged policy” here. Texas, 20 F.4th at 962. Instead, it openly insists

“defendants are not required to promise they will never again impose any

vaccination requirement” (Resp.Br. at 21), while providing no assurances

for Plaintiffs’ religious rights. Cf. Texas, 20 F.4th at 963-64 (“The

Government’s suggestion of Mootness doesn’t even claim that DHS has

forsworn further [similar action] on this topic.” (Emphasis in original)).

Nor does it dispute that the Biden Administration’s objection to the 2024

NDAA admits an intent to reimplement the mandate (Op.Br. at 58), or

that the Coast Guard has given no indication it will remedy its blatant

RFRA    procedural     violations   of    categorically    denying     religious

accommodation requests based on generalized interests, rather than

conducting RFRA-compliant individualized review. Id. Further, by

refusing to restrain commander and board discrimination against

unvaccinated members (like the Navy has), the Coast Guard has

intentionally preserved its liberty to continue harming Plaintiffs.


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     Second, the Coast Guard does not dispute “the suspicious timing”

of its policy changes. Texas, 20 F.4th at 962. It is no defense to baldly

assert that there were no signs of “gamesmanship or litigation

posturing.” (Resp.Br. at 20.) Instead of explaining its own actions, the

Coast Guard confusingly claims that because the Navy did not use

gamesmanship, neither did the Coast Guard. (Id.) Directing attention to

the wholly superior actions of the Navy, however, only highlights the

Coast Guard’s gamesmanship and posturing.

     Specifically, the Coast Guard offers no benign explanation for its

repeated goalpost-shifting rescission efforts that loosely tracked, but did

not fully satisfy, Plaintiffs’ demands in the District Court. (ROA.1514.)

(Opening Br. at 15-16.) For example:

        • In January 2023, Plaintiffs informed the Court they still

           required relief from the Coast Guard’s failure to expunge

           adverse records. (ROA.1365, 1368.) The Coast Guard ordered

           eventual removal of CG-3307s just days later. (ROA.1452.)

        • On March 31, Plaintiffs informed the Court they still required

           relief from the Coast Guard’s refusal to consider Marcenelle’s

           Special Selection Board (SSB) request. (ROA.1508.) In April—


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             just two days before filing its reply in support of its motion to

             dismiss—the Coast Guard issued ALGPSC 058/23 telling

             officers they could request an SSB. (ROA.1844.)

          • Later in April, Plaintiffs requested urgent relief for

             Marcenelle before the imminent closure of the then-current

             promotion year. (ROA.1819.) In May, the Coast Guard finally

             granted his SSB request while still forcing him into the next

             promotion year without any assurances he would be

             promoted. (ROA.1831.)

      The District Court cited several of these actions as evidence of

mootness (see ROA.1952), but their timing cuts the other way: “DHS’s

pattern of belated shifts and its eleventh-hour mooting of [Plaintiffs’

disputes] is more than a little ‘suspicious.’” Texas, 20 F.4th at 964.4

      The Coast Guard equally does not deny the suspicious timing of

multiple discharge deferrals, each in response to Plaintiffs’ demands, and




4 Further, the Coast Guard issued this incomplete seriatim rescission guidance
knowing that every other military service had already lost defending their own RFRA
violations. (Op.Br. at 42.) By the time the Coast Guard started this process in January
2023, it was apparent that the Coast Guard was likely to lose this litigation unless it
could prevent the District Court from ever reaching the merits.

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all at the eleventh hour of service members’ discharge deadlines.

(ROA.794, 1135, 1144, 1230.) Critically, the deferrals were never lengthy

enough to provide meaningful relief for members about to lose their

livelihoods, and yet were the minimum necessary to escape from a

renewed motion for TRO (which was originally denied “without

prejudice”). (See ROA.1136, 1145, 1231.) (Op.Br. at 55.)

     Third, the Coast Guard effectively concedes its “continued defense

of the challenged policy.” Texas, 20 F.4th at 962. It openly alleges that it

is not “required to disavow the legality of the now-defunct requirement

challenged here or the religious exemption process more generally.”

(Resp.Br. at 21.) Indeed, the Coast Guard’s original rescission order

remains in place and continues to label Plaintiffs as “violat[ors] of the

[allegedly] lawful general orders”—a characterization the Coast Guard’s

Response does not dispute.

     These “facts easily satisfy all three [Texas] factors,” and “DHS has

therefore not borne its formidable burden of showing that it is absolutely

clear the allegedly wrongful behavior could not reasonably be expected to

recur.” Texas, 20 F.4th at 963, 964 (internal quotes omitted).




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     Even assuming the Coast Guard “bear[s] a lighter burden,” Navy

SEALs II, 72 F.4th at 673 (cleaned up), it still fails to make “absolutely

clear,” as it must, that its challenged actions are not reasonably likely to

recur. Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982). In fact,

it signals that the challenged conduct will recur, especially given its

refusal to eradicate the ongoing collateral consequences of the mandate

and the Biden Administration’s comments to the 2024 NDAA. See supra.

More than showing just a mere “ability to reimplement” its policies, Navy

SEALs II, 72 F.4th at 674, these facts show a high likelihood—indeed,

intent—to reimplement.

     This is all the more true of the Coast Guard’s blatant RFRA

procedural violations—the “gravamen” of Plaintiffs’ class-action claims

(Op.Br. at 58)—about which the Coast Guard’s Response says absolutely

nothing. Indeed, there are no new policies, guidance, training,

instructions, or even a bare admission of past error in issuing mass

denials   of   the putative    class    members’       requests    for religious

accommodation without “to the person” analyses, see Gonzales v. O

Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 430 (2006),

based on invalid “broadly formulated interests,” see Fulton v. City of


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Philadelphia, 141 S. Ct. 1868, 1881 (2001); accord Navy SEALs I, 27

F.4th at 351. The Coast Guard does not dispute that it has given “zero

assurances that it will begin assessing accommodation requests” in

compliance with RFRA. (Op.Br. at 54.)

       Accordingly, the voluntary cessation exception applies here and

prevents mootness.

  B.     Capable of Repetition but Evading Review.

       The Coast Guard argues that its RFRA violations and related

harms are not capable of repetition while evading review. The Coast

Guard is wrong.

            1.    The dispute was too short to be fully litigated.

       The Coast Guard argues that vaccine mandates, in general, are not

“necessarily too short in duration to be fully litigated.” (Resp.Br. at 22.)

But the question is whether the “challenged action” is “in its duration too

short to be fully litigated prior to its cessation.” Cath. Leadership Coal.

of Texas v. Reisman, 764 F.3d 409, 422 (5th Cir. 2022). While vaccine

mandates for traditional, well-tested, and proven vaccines may be of

enduring character, the fact that the Coast Guard’s COVID vaccine

mandate survived only from September 7, 2021 (ROA.22) to January 11,


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2023 (ROA.1364) shows that a mandate for an experimental vaccine with

high rates of failure and severe medical complications is not. (ROA.1515.)

In short, a COVID-19-related vaccine mandate is exactly the sort of

“exceptional situation[]” contemplated by the rule. See Spell v. Edwards,

962 F.3d 175, 180 (5th Cir. 2020) (assuming that COVID-related “stay-

at-home orders” were too short in duration to be fully litigated).

      Further, this Court has explained that an exceptional situation

exists when a party “show[s] its claims have evaded the review . . . for

reasons beyond its control”; that it “diligently . . . t[ook] advantage of the

legal avenues that would allow for litigation within the necessary time

constraints”; and that it “ma[de] a full attempt to prevent the case from

becoming moot.” Empower Texans, Inc. v. Geren, 977 F.3d 367, 371 (5th

Cir. 2020) (cleaned up, internal citations omitted).

      Plaintiffs here exhausted every tool available to them in the District

Court to prevent this case from becoming allegedly moot. They filed this

complex class action lawsuit as soon as feasible after the Coast Guard’s

long-delayed final denials of their religious accommodation requests.

And, after the District Court’s denial of their TRO motion “without

prejudice,” they consistently updated the Court (and engaged in two


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mediations) about the Coast’s Guard’s continued dilatory actions and

Plaintiffs’ ongoing need for preliminary injunctive relief (including filing

an emergency motion for an expedited ruling given the imminent closure

of Marcenelle’s promotion-year window). (See, e.g., ROA.1760, 1087,

1356, 1336, 1375, 1503, 1819, 1829, 1824, 1957.) In other words, any

alleged mootness here was despite, not because of, Plaintiffs’ diligent

litigation efforts.

      As to the Coast Guard’s temporary stay of Plaintiffs’ discharge

dates and its miserly extensions for class members with imminent

discharges (Op.Br. at 63), the Coast Guard casts its evasions as

“reasonable attempts to accommodate plaintiffs during the pendency of

this litigation.” (Resp.Br. at 22.) But if that were so, the accommodations

would have endured during the pendency of this litigation.5 Instead, the

expressly temporary extensions prevented Plaintiffs from renewing their

request for a TRO, including on behalf of their suffering putative class

members, after their original motion was denied “without prejudice”




5 These accommodations were provided to putative class members.      The Coast Guard
still granted the deferrals at Plaintiffs’ request while an undecided motion for class
certification loomed.
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(ostensibly because they did not yet have definite discharge dates).6 Thus,

the Coast Guard’s gamesmanship helped ensure Plaintiffs’ challenge was

too short to be fully litigated.

        As this Court observed in a case the Coast Guard itself cites, “[w]e

would be most reluctant to permit a federal agency to so arrange its

timetables that the scope of its authority would continue to elude judicial

scrutiny.” ITT Rayonier Inc. v. United States, 651 F.2d 343, 346 (5th Cir.

Unit B July 1981). This principle “could also apply to purposeful efforts

to delay judicial review.” Empower Texans, 977 F.3d at 372 (citing ITT

Rayonier); cf. In re City of Detroit, Mich., 841 F.3d 684, 692 (6th Cir. 2016)

(finding that Detroit’s history of quitting and resuming challenged

actions in response to litigation events “is the type of conduct the capable-

of-repetition exception is intended to preserve for review”). That is this

case.




6 For example, the Coast Guard did not actually enforce Jackson’s denial against him

until June 30, and did not issue discharge actions against him until August; yet he
still wasn’t given a definite discharge date. (ROA.302-03.) Marcenelle had a similar
timeline. (See ROA.371-72, 953, 1121.)
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            2.    The Coast Guard is likely to repeat Plaintiffs’
                  harms.

      The Coast Guard argues that there is no indication it will resume

its COVID vaccine mandate in the future. (Resp.Br. at 21-22.) But there

is every indication that it will continue denying Plaintiffs a religious

accommodation process that complies with RFRA (the gravamen of

Plaintiffs’ class-wide claims). Indeed, it has halted consideration of

COVID vaccine exemption requests altogether, despite an ongoing lack

of protection against commander-level discrimination. As Judge Duncan

observed regarding the Navy’s halted exemption process, the decision to

stop processing exemptions has turned “a 50-step process to a zero-step

process.” (ROA.1377.)7

      Further, a party asserting this exception need only show “either a

demonstrated probability or reasonable expectation that they will be

subject to the same unlawful governmental action again.” Libertarian

Party v. Dardenne, 595 F.3d 215, 217 (5th Cir. 2010) (cleaned up, internal

citations omitted). This standard “is not mathematically precise and

requires only a reasonable likelihood of repetition.” Oliver v. Scott, 276




7 See Navy SEALs II (oral argument, Feb. 6, 2023). (ROA.1377.)


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F.3d 736, 741 (5th Cir. 2002) (cleaned up, internal citations omitted).

Plaintiffs easily satisfy this standard here.

     The repeating harms detailed throughout this Reply and Plaintiffs’

Opening Brief are not speculative, as Admiral Lee’s declaration confirms,

and given that Plaintiffs must meet mandatory promotion boards as their

careers progress. A promotion board will consider Marcenelle and Stone

for promotion to Lieutenant Commander after they have served as a

Lieutenant for three years (ROA.1656), and failure to promote may

ultimately result in discharge. (ROA.1376.)

     Thus, Plaintiffs have gone beyond showing mere “opportunity to act

in the same allegedly unlawful manner in the future.” Libertarian Party

v. Dardenne, 595 F.3d 215, 217 (5th Cir. 2010); see also Honeywell Int'l,

Inc. v. Nuclear Regul. Comm’n, 628 F.3d 568, 577 (D.C. Cir. 2010)

(finding that a denial of a regulatory exemption had a reasonable chance

of recurring where the agency had not “adequately explain[ed] the

reasons” for its denial, even though a future exemption would “turn on

specific facts . . . at the relevant time”). The Coast Guard’s unexplained

and unreasonable refusal to issue an order similar to the Navy’s makes

the recurrence all the more likely.


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       Accordingly, even if this case were moot, the exception to mootness

for injuries capable of repetition but evading review applies.

III.   The Coast Guard did not establish that the District Court
       properly reviewed Plaintiffs’ Rule 60(b) motion.

       The Coast Guard cannot defend the District Court’s reasons for

denying Plaintiffs’ Rule 60(b) motion, because the District Court provided

nothing for it to defend.

       The Coast Guard does not dispute that a District Court abuses its

discretion in denying a Rule 60(b) motion when it acts “in an

unreasonable or arbitrary manner without reference to any guiding rules

and principles.” United States v. M/Y Galactica Star, 13 F.4th 448, 453

(5th Cir. 2021) (cleaned up). But even the Coast Guard cannot identify

any “guiding rules and principles” for adjudicating a Rule 60(b) motion

concealed in the District Court’s two-sentence denial or incorporated by

that denial’s vague reference to “reasons set forth in the Court’s . . . Order

dismissing this case.” (ROA.1971.)

       Notably, the District Court did not hold that all of Plaintiffs’ claims

were inherently non-justiciable, but only Stone’s claims related to his

missed training and Marcenelle’s claims related to his missed promotion.

(ROA.1950-51.) It expressly recognized that Plaintiffs had justiciable

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claims to ensure they are not subject to “any new adverse administrative

actions [as] unvaccinated service members” under RFRA (but it wrongly

held that such protections are now in place). (ROA.1449-50.)

     Thus, the “reasons” provided in the District Court’s mootness Order

did not directly apply to Plaintiffs’ argument based on ALCOAST 291/23.

Again, that policy was not before the District Court until after final

judgment. (Opening Br. at 63-64.) The Court thus did not consider

ALCOAST 291/23 in concluding that the Coast Guard’s actions mooted

this case in compliance with Navy SEALs II (ROA.1949), which, as noted,

found mootness only where the Navy “definitely restored Plaintiffs to

equal footing” with their compatriots. 72 F4th at 673.

     Without disputing the “guiding rules and principles” necessary to

resolve a Rule 60(b) motion recited in Plaintiffs’ brief, the Coast Guard

instead asserts that the motion presents an “insubstantial[] . . . challenge

to the judgment.” Resp.Br. at 25. The Coast Guard is wrong.

     ALCOAST 291/23 uniquely shows that at the same time the Coast

Guard was mopping up the mess its RFRA and First Amendment

violations caused for ex-service members, its arguments that nothing

further could be done for current service members were disingenuous, at


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best. The duplicity revealed by ALCOAST 291/23 presents an

extraordinary circumstance illustrating anew that “the initial judgment

[was] manifestly unjust.” Good Luck Nursing Home, Inc. v. Harris, 636

F.2d 572, 577 (D.C. Cir. 1980).

     The issuance of ALCOAST 291/23 thus also undermines the

presumption of good faith the District Court afforded to the Coast Guard.

(ROA.1953.) The District Court neglected to cross check that

presumption against the new evidence that the Coast Guard had begun

giving special career relief to nearly any victim of its RFRA and First

Amendment violations except for Plaintiffs and putative class members.

     Because the District Court did not find that all of Plaintiffs’ claims

against the military were nonjusticiable, its mootness Order did not

directly apply to ALCOAST 291/23. Failing to analyze Plaintiffs’ Rule

60(b) motion based on that policy was thus an abuse of the District

Court’s discretion, and the Coast Guard points to no authorities stating

otherwise. Moreover, ALCOAST 291/23 presents an exceptional

circumstance of government duplicity that shows the judgment’s

manifest injustice and undermines any presumption of good faith in the

Coast Guard’s actions.


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                            CONCLUSION

     Plaintiffs’ case is not moot. This Court should REVERSE.



Dated: February 7, 2024

                                  Respectfully submitted,

                                  /s/ Michael G. McHale

                                  Stephen Crampton
                                  THOMAS MORE SOCIETY
                                  PO Box 4506
                                  Tupelo, MS 38803
                                  (662)255-9439
                                  scrampton@thomasmoresociety.org

                                  Michael G. McHale
                                  THOMAS MORE SOCIETY
                                  10506 Burt Circle, Ste. 110
                                  Omaha, NE 68114
                                  (402)501-8586
                                  mmchale@thomasmoresociety.org

                                  Nathan Loyd
                                  THOMAS MORE SOCIETY
                                  5101 Old Highway 5, Box 442
                                  Lebanon, GA 30146
                                  (559)744-3664
                                  nloyd@thomasmoresociety.org

                                  Adam S. Hochschild
                                  Hochschild Law Firm, LLC
                                  THOMAS MORE SOCIETY
                                  PO Box 401
                                  Plainfield, VT 05667

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                             (314)503-0326
                             adam@hochschildlaw.com

                          Counsel for Plaintiffs-Appellants




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     I certify that on February 14, 2024, I electronically filed the

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Court of Appeals for the Fifth Circuit by using the CM/ECF system.

Service will be accomplished by the CM/ECF system and by email to

counsel for Defendants-Appellees.




                                   /s/ Michael G. McHale
                                   Counsel for Plaintiffs-Appellants




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                                  /s/ Michael G. McHale
                                   Counsel for Plaintiffs-Appellants




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